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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY


DEBORAH LAUFER,
                                       Case No. 3:20-cv-09193(FLW)
      Plaintiff,

vs.                                    Electronically Filed

EXTENDED STAY AMERICA SOMERSET
– FRANKLIN, A Maryland Corporation,

      Defendant,



 MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT’S MOTION TO DISMISS




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I.       INTRODUCTION

                   Plaintiff Deborah Laufer ("Plaintiff") initiated this case against Defendant

Extended Stay America – Somerset - Franklin ("Defendant") as one of over 4001 nearly

identical ADA lawsuits filed in New Jersey, New York, Maryland and elsewhere. Defendant

owns and/or operates Extended Stay America hotels nationwide. Courts in New Jersey and other

districts have taken notice of Plaintiff filing these identical cases despite lacking subject matter

jurisdiction and standing. Plaintiff is a resident of Florida and never alleges that she visited the

state of New Jersey, the hotel in question or has any intent to visit this state of the hotel. There is

no concrete harm or risk of immediate future harm.

                   To satisfy federal pleading requirements, Plaintiff must sufficiently allege facts

which if proven true state a claim upon which relief can be granted. Fed. R. Civ. P. 12(b)(6).

Plaintiff has not done so. Accordingly, the Court should grant Defendant’s Motion to Dismiss

the Complaint pursuant to Federal Rule of Civil Procedure Rule 12(b)(6).

II.      BACKGROUND

                   On July 21, 2020, Plaintiff filed the Complaint against Defendant seeking

injunctive relief and attorneys’ fees for alleged violations of the Americans with Disabilities Act

(“ADA”). Plaintiff is a resident of Pasco County, Florida. Complaint ¶ 1. Plaintiff alleges

that she uses an assistive device (such as a cane) to walk and decided to be a “tester” for

purposes of ADA compliance. Complaint ¶ 2. Plaintiff further alleges that she visited certain

third party websites (not websites that Defendant owns or controls), such as expedia.com and

hotels.com, “for the purpose of reviewing and assessing the accessible features at the Property


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  See Certification of Kerri E. Chewning, Exhibit 1. Defendant requests that pursuant to Federal Rule Evidence 201,
the Court take judicial notice of the publicly available judicial filings and compilation of Plaintiff’s litigation history.
See Sturgeon v. Pharmerica Corp., 438 F. Supp. 3d 246, 257 (E.D. Pa. 2020) (citing Victaulic Co. v. Tieman, 499
F.3d 227, 236 (3d Cir. 2007)). Specifically, “publicly available records from other judicial proceedings may be
judicially noticed in the context of a motion to dismiss.” Id.
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and ascertain whether they meet the requirements of 28 C.F.R. Section 36.302(e).” Complaint ¶

10. Plaintiff found that such third party websites were lacking accessible information about the

property in question located at 30 Worlds Fair Dr. Somerset, NJ 08873 (the “Subject

Property”). Complaint ¶¶ 3, 10. Plaintiff, therefore, seeks attorneys’ fees, costs and injunctive

relief. Complaint ¶¶ 19-20. Critically, Plaintiff never alleged in the Complaint that she

visited the state of New Jersey, the town of Somerset, the Subject Property or has any plans

or intentions of visiting the Subject Property in New Jersey. The Complaint does not allege

that Plaintiff has any reason to travel anywhere in New Jersey or any reason to seek lodging

anywhere in Somerset.

III.   LEGAL ARGUMENT

       A.      Courts Must Sua Sponte Assess Standing For Subject Matter Jurisdiction

               “Article III, Section 2 of the Constitution limits the jurisdiction of the federal

courts to the resolution of ‘cases’ and ‘controversies.’ To ensure that this bedrock case-or-

controversy requirement is met, courts require that plaintiffs establish their standing as the proper

parties to bring suit.’” Sonterra Capital Master Fund Ltd. v. UBS AG, 954 F.3d 529, 533–34 (2d

Cir. 2020) (quoting Langan v. Johnson & Johnson Consumer Cos., 897 F.3d 88, 92 (2d Cir.

2018)); Kamal v. J. Crew Group, Inc., 918 F.3d 102, 110 (3d Cir. 2019).

               “[I]n our federal system of limited jurisdiction . . . the court sua sponte, at any

stage of the proceedings, may raise the question of whether the court has subject matter

jurisdiction.” United Food & Commercial Workers Union v. CenterMark Props. Meriden

Square, Inc., 30 F.3d 298, 301 (2d Cir. 1994) (internal quotation marks and citation omitted); see

also Nesbit v. Gears Unlimited, Inc., 347 F.3d 72, 76-77 (3d Cir. 2003) (“[B]ecause subject

matter jurisdiction is non-waivable, courts have an independent obligation to satisfy themselves

of jurisdiction if it is in doubt.”); Durant, Nichols, Houston, Hodgson & Cortese-Costa P.C. v.


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Dupont, 565 F.3d 56, 62 (2d Cir. 2009) (“If subject matter jurisdiction is lacking and no party

has called the matter to the court’s attention, the court has the duty to dismiss the action sua

sponte.”). Courts “are required to raise issues of standing sua sponte if such issues exist.” Bock

v. Pressler & Pressler, LLP, 658 F. App’x 63, 64 (3d Cir. 2016) (citing Steele v. Blackman, 236

F.3d 130, 134 n.4 (3d Cir. 2001)). “If plaintiffs do not possess Article III standing. . . the District

Court. . .lack[s] subject matter jurisdiction to address the merits of plaintiffs’ case.” Storino v.

Borough of Point Pleasant Beach, 322 F.3d 293, 296 (3d Cir. 2003) (citation omitted).

       B.      Standing Requires Concrete Harm Among Other Elements

               To establish standing a plaintiff must demonstrate (1) an “injury in fact” that is

“concrete and particularized” and “actual or imminent, not conjectural or hypothetical,” (2) “a

causal connection between the injury and the conduct complained of,” and (3) redressability of

the injury by a favorable decision. Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–65 (1992).

Where “a case is at the pleading stage, the plaintiff must ‘clearly . . . allege facts demonstrating’

each element.” Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016) (quoting Warth v. Seldin,

422 U.S. 490, 518 (1975)).

               “For an injury to be ‘particularized,’ it ‘must affect the plaintiff in a personal and

individual way.’” Spokeo, 136 S. Ct. at 1548 (quoting Lujan, 504 U.S. at 560 n.1). To be

“concrete” an injury “must actually exist”: the injury must be “real” and not “abstract.” Id.

Generally, “even in the context of a statutory violation,” “a bare procedural violation, divorced

from any concrete harm,” does not satisfy the injury-in-fact requirement of Article III. Id. at

1549–50 (emphasis added - holding that the plaintiff could not satisfy the demands of Article III

by simply alleging that consumer reporting agency disseminated information in violation of the

Fair Credit Reporting Act of 1970: “[a] violation of” a “procedural requirement[] may result in

no harm” and not all “inaccuracies cause harm or present any material risk of harm”). A “risk of


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real harm” may “satisfy the requirement of concreteness.” Id. at 1549 (noting statutes where the

violation of a procedural right would be sufficient because Congress identified harms sufficient

to constitute injury in fact). Thus, “the critical question for standing purposes is ‘whether the

particular . . . violations alleged . . . entail a degree of risk sufficient to meet the concreteness

requirement.’” Crupar-Weinmann v. Paris Baguette Am., Inc., 861 F.3d 76, 80 (2d Cir. 2017)

(emphasis in original) (quoting Spokeo, 136 S. Ct. at 1550).

        C.      Injunctive Relief Requires Risk Of Immediate Injury

                To have standing to seek injunctive relief Plaintiff has the burden of establishing

that she “has sustained or is immediately in danger of sustaining some direct injury as the result

of the challenged . . . conduct.” City of Los Angeles v. Lyons, 461 U.S. 95, 101–02 (1983)

(internal quotation marks and citation omitted); Kreisler v. Second Ave. Diner Corp., 731 F.3d

184, 187 (2d Cir. 2013) (“Plaintiffs seeking injunctive relief must also prove that the identified

injury in fact presents a ‘real and immediate threat of repeated injury.’”) (quoting Shain v.

Ellison, 356 F.3d 211, 215 (2d Cir. 2004)).

        D.      Plaintiff Here Lacks Standing Because There Is No Concrete Harm

                Plaintiff is a resident of Florida. Complaint ¶ 1. Defendant owns the Subject

Property in Somerset, New Jersey. Complaint ¶ 3. There are no facts in the Complaint

indicating that she has ever traveled to Somerset, New Jersey, or anywhere in New Jersey or has

any plans to do so in the future.

                Plaintiff alleges that she is a “tester” for the ADA. Complaint ¶ 2. However, her

status as a “tester” is not sufficient to establish subject matter jurisdiction in this action. See

Griffin v. Dep’t of Labor Fed. Credit Union, 912 F.3d 649, 656 (4th Cir. 2019) (holding that a

plaintiff who was ineligible to be a member of a credit union failed to establish standing to bring

an ADA claim concerning its website because tester status “cannot create standing in the absence


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of an otherwise plausible assertion that a return to the website would allow [the plaintiff] to avail

himself of its services”); see also Harty v. Greenwich Hospitality Group, LLC, 536 F. App’x

154, 155 (2d Cir. 2013) (finding the plaintiff’s “assertion that he visits public accommodations as

an ADA ‘tester’” failed to establish standing as it lacked “the requisite link to Stamford,

Connecticut”—the location of the defendant’s Hampton Inn).

               Multiple courts have taken notice of these types of spam style ADA lawsuits

without the requisite standing. Such courts have dismissed nearly identical cases or filed orders

to show cause sua sponte regarding whether standing and subject matter jurisdiction exists. For

example, the court in Laufer v. Laxmi & Sons, LLC, 1:19-cv-01501-BKS-ML, 2020 U.S. Dist.

LEXIS 79545 (N.D.N.Y. May 6, 2020), involving the same Plaintiff as the case at hand (Laufer),

issued a sua sponte Memorandum-Decision and Order regarding Plaintiff’s lack of standing

stating, “[t]here are no facts in the Complaint or Plaintiff’s affidavit indicating that she has ever

traveled to Rensselaer, New York, or anywhere in New York, or that she has any reason to travel

anywhere in New York or any reason to seek lodging anywhere in New York.” Id. Doc. No. 15

at 7. The court went on to say, “the Court questions whether the Plaintiff has established

standing, in accord with Spokeo, Kreisler, and Deeper Life Christian Fellowship, Inc., and thus

whether the Court has subject matter jurisdiction over this action.” Id. Doc. No. 15 at 9.

               Other courts have taken notice of Plaintiff’s abuse of litigation as well. For

example, in Laufer v. 1110 Western Albany, LLC, Case No. 1:19-cv-01324-BKS-ML, 2020 U.S.

Dist. LEXIS 81128 (N.D.N.Y. May 7, 2020), the Court issued an Order noting that “Plaintiff

Deborah Laufer, a Florida resident … has 29, nearly identical, cases pending against different

defendants in the Northern District of New York.” Id. Doc. No. 21 at 1. The court went on to

find that “There appears to be a serious question as to whether Plaintiff has established

standing, in this, or any of her other cases, and thus whether the Court has subject matter


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 jurisdiction over these actions.” Id. Doc No. 21 at 2 (emphasis added). The court then ordered

 that Plaintiff file briefs addressing whether she has standing in that case and 27 other cases filed

 by Plaintiff Laufer listed in the court’s Exhibit A attached to the Order. Id. Doc No. 21 at 2.

 Subsequent to that, the case was dismissed due to settlement. Id. Doc Nos. 22, 23. Similarly, the

 Court here should question Plaintiff’s standing, which in fact does not exist.

                   In New Jersey, The Hon. Renee Marie Bumb issued an Order to Show Cause in

 three very similar cases also brought by a serial ADA plaintiff residing in Florida alleging

 violations on defendant’s website reservations system. Hernandez v. Caesars License Co., LLC,

 Case No. 1:19-cv-06087-RMB-KMW (USDC DNJ), Doc No. 4; Hernandez v. Caesars License

 Co., LLC, Case No. 1:19-cv-06088-RMB-KMW (USDC DNJ), Doc No. 4; Hernandez v.

 Montego Bay Resort and Conference Center, Case No. 1:19-cv-06091-RMB-AMD (USDC

 DNJ), Doc No. 4. See Chewning Certif. Exhibit 2. The Court’s Order could easily be applied to

 this case by changing little more than the pronouns involved:

                           An examination of the facts alleged in the complaints leads
                   this Court to question whether Plaintiff has established that he
                   has suffered an injury in fact. Plaintiff alleges that he “visited the
                   Property’s website for the purpose of reviewing an assessing the
                   accessible features at the Property in order to ascertain whether it
                   meets Plaintiff’s individual disability needs[.]” (Complaints ¶ 30)
                   The complaints do not plead how many times Plaintiff visited each
                   website. Moreover, while Plaintiff pleads a laundry list of
                   “disability accommodations” he was “unable to verify” “whether
                   the Property contain[ed],“ (Complaints ¶ 31), the complaints do
                   not even plead that Plaintiff, who “resides in Miami, Florida,”
                   (Complaints, ¶ 1) has any intention of visiting New Jersey,
                   much less the specific properties identified in the complaints.
                   Rather, Plaintiff merely pleads in conclusory fashion that “Plaintiff
                   intends to revisit Defendant’s or Defendant’s third-party agent’s
                   website and/or online reservation system in order to test it for
                   compliance with 28 C.F.R. § 36.302(e)2 and/or otherwise

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   The Court notes that 28 C.F.R. § 36.302(e) (1), which Plaintiff cites in her complaint, does not impose a specific
 duty on places of public accommodation to include descriptions of disability accommodations on their websites. The
 regulation merely requires that a place of public accommodation “[i]dentify and describe accessible features . . . in
 enough detail to permit individuals with disabilities to assess independently whether a given hotel or guest room


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                   determine if the site provides enough information for Plaintiff to
                   determine whether the site comes into compliance with the
                   guidelines of the aforementioned law.” (Complaints ¶ 39)

                          Thus, it does not appear that Plaintiff has pled an
                   injury in fact. In this regard, the Court finds this case analogous to
                   Murray v. Lifetime Brands, Inc., No. CV 16-5016, 2017 WL
                   1837855 (D.N.J. May 8, 2017). In that case, as here, the plaintiff’s
                   claim was premised on an “‘unlawful denial of access to
                   information subject to disclosure.’” Id. at *3 (quoting In re:
                   Nickelodian Consumer Privacy Litig., 827 F.3d 262, 273-74 (3d
                   Cir. 2016)). In Murray, Judge Hillman held that the plaintiff had
                   not established an injury in fact, explaining, “[c]ritically, what
                   Murray fails to do, however, is identify the harm that resulted from
                   allegedly not knowing what she asserts the [law] requires
                   [defendant] to tell her.” Id. at *4,

                           In this case, too, Plaintiff fails to plead what actual,
                   concrete harm he suffered, or will continue to suffer, as a result
                   of allegedly being unable to determine whether each property has
                   disability accommodations that meet his needs.

 Hernandez v. Caesars License Co., LLC, Case No. 1:19-cv-06087-RMB-KMW (USDC DNJ),

 Doc No. 4 at 4-5 (emphasis added). The court then ordered that plaintiff show cause “why this

 case should not be dismissed for lack of Article III standing.” Id. at 6. The defendant

 subsequently filed a motion to dismiss much like the present motion, and the court issued an

 Order granting defendant’s motion to dismiss for lack of subject matter jurisdiction.

 Hernandez v. Caesars License Co., LLC, Case No. 1:19-cv-06087-RMB-KMW (USDC DNJ),

 Doc No. 25. The same thing occurred in the second case Hernandez v. Caesars License Co.,

 LLC, Case No. 1:19-cv-06088-RMB-KMW (USDC DNJ), Doc No. 24. In the third case,

 plaintiff filed a notice of voluntary dismissal, presumably acknowledging the lack of standing

 and jurisdiction. Hernandez v. Montego Bay Resort and Conference Center, Case No. 1:19-cv-




 meets his or her accessibility needs.” 28 C.F.R. § 36.302(e) (1) (ii). The regulation is silent as to where or how a
 place of public accommodation must identify and describe its accessible features, and Plaintiff’s complaints are
 silent in this regard.


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 06091-RMB-AMD (USDC DNJ), Doc No. 5. Here too, the case lacks subject matter jurisdiction

 and the Complaint should be dismissed by the Court.

 IV.    CONCLUSION

                Plaintiff lacks standing in this case, and it is respectfully submitted that the Court

 accordingly lacks subject matter jurisdiction. This issue has been thoroughly explored by other

 courts, including in dozens of cases involving this very Plaintiff, resulting in orders and

 dismissals for lack of jurisdiction. Thus, Defendant respectfully requests that the Court dismiss

 Plaintiff’s Complaint with prejudice for lack of subject matter jurisdiction as well.


 Dated: September 8, 2020                     Respectfully submitted,

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                                              Pro Hac Vice Motion to be filed




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